                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
____________________________________
                                             )
DANIEL JAROCH,                               )
                                             )      Case No. 17 CV 8518
                      Plaintiff,             )
vs.                                          ) Honorable Virginia M. Kendall
                                             )Magistrate Judge Honorable Daniel G. Martin
                                             )
Florida Fruit Juices, Inc.,                  )
Donald Franko, Sr.,                          )
Donald Franko, Jr. and                       )
William J. Franko,                           )
                                             )
       Defendants.                           )
____________________________________         )

                           PLAINTIFFS MOTION TO COMPEL
                                    INSPECTION

       Plaintiff, DANIEL JAROCH (“Plaintiff”), by his attorney THE LAW OFFICE OF JOHN

IRELAND, and Motions this Court to Compel Defendants to allow Inspection of Plaintiff’s

former work place and states in support as follows:

                           NATURE OF ACTION AND PARTIES

   1. This civil action is brought by the above-named individual plaintiff who seeks redress for

       the Defendant’s violations of his rights under the Fair Labor Standards Act, 29 U.S.C. §

       201, et. seq. and for violations of the Illinois Minimum Wage Act (“IMWA”), 820 ILCS

       §105 et seq. and Illinois Wage Payment and Collection Act 820 ILCS 115/1 et seq. (West

       2002)) (hereinafter “IWPCA” ) as well an common law claim of Conversion of Personal

       Property.

   2. Plaintiff issued discovery (Interrogatories, Document Requests and Requests for

       Inspection) on February 28, 2018.



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   3. Defendant failed to answer discovery or engage in 37.2 communications.

   4. Plaintiff brought a Motion to Compel, and Defendants counsel claimed to have been too

       busy to answer his email and voicemails.

   5. Based on the Plaintiffs Motion, Defendant was ordered to Answer discovery by 6/8/18

       and extended discovery deadline to 8/10/18. (Docket Document # 26).

   6. Among the discovery requests issued in February, Plaintiff requested to inspect and

       photograph the Plaintiff’s former work site. (See Plaintiff’s Request to Inspect, attached

       to this Motion as Exhibit 1).

   7. Defendants responded to Plaintiff’s Request to Inspect on 5/11/18 via objection and

       correspondence. (See Defendants’ Correspondence of 5/11/18 attached to this Motion as

       Exhibit 2).

   8. Plaintiff counsel sent a correspondence pursuant to Local Rule 37.2 and replied to the

       Defendants’ correspondence, replying to each of the various objections. (See Plaintiff’s

       correspondence of 5/13/18 attached to this Motion as Exhibit 3).

   9. On June 4, 2018 Defendant and Plaintiff counsel held a 37.2 telephone conference and

       were unable to resolve the issues related to the inspection request.

   10. Based on Defendants objections and Plaintiff’s 37.2 efforts, Plaintiff now asks the court

       to compel the inspection of the Plaintiff’s former work place.

   11. Plaintiff has fulfilled all 37.2 duties as shown in the attached 37.2 Declaration. (See

       Plaintiff’s 37.2 Declaration, attached to this Motion as Exhibit 4).




WHEREFORE, Plaintiff asks the Court to enter an Order requiring Defendant to:

          a. allow inspection of property of Defendants.

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          b. Extend discovery deadlines by 30 days, if the Defendants’ actions delay
             inspection and related discovery efforts by Plaintiff,
          c. Other relief that is just and right



Dated: 6/20/18                     Respectfully submitted,

                                                  ____/S/John C. Ireland

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